Case 1: 05- -c\/- -01183- .]DT- STA Document 14 Filed 07/15/05 Page 1 of 4 €(PagelD 6

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EAsTERN Dr\/rsic)r\r 555¢/[”`:’;% ’7_9 _9_.3
“®O§ Q>f~“bt”@
MARION GAFFNEY, Wrongrur “*’1"/;@;0@9;

death beneficiary and next of kin
of JAY NllCHAEL GAl-'FNEY,

Plaintiff,

Case No: 05 1183 T/An
JURY TR|AL DE|VIAND

V.

MERCK & CO., |NC.;

JENNIFER FLETCHER K|N|VlAN, DPH;
L|SA D. WEIR, DPH;

EXPRESS SCR|PTS, |NC.;

SHAY IV|. |NGRA|V|;

VlNAY KR|SHAN SOOD;

M|CHAEL RlCHARDS;

PATR|C|A BLAS|NGAN|E and

SCOTT EVANS,

Defendants.

\_/\_r\_z\_/\_/\_/\_/\./\../V`_#\_/\_./\_/\_/\_/VV\_¢

 

ST|PULAT!ON AND ORDER OF DlSMlSSAL

 

Pursuant to Ru|e 41 of the Federa| Rules of Civil Procedure, the parties hereby
stipulate to the dismissal of Defendant Express Scripts, |nc. Without prejudice;

lt is therefore ORDERED that the Plaintiffs' action against Defendant Express
Scri|:>ts1 lnc. is dismissed Without prejudice

signed this /5 'éay or.rury, 2005_

%/JJ.M

JU|ZGE

This document entered on the docket shea l o p|i\ance
275969 with Rule 58 and,-’or_79 {a) FRCP on f

Case 1:05-cv-01183-.]DT-STA Document 14 Filed 07/15/05 Page 2 of 4 PagelD 7

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Case 1:05-cv-01183-.]DT-STA Document 14 Filed 07/15/05 Page 3 of 4 PagelD 8

CERTIF|CATE OF SERV|CE

l hereby certify that a true and exact copy of the foregoing has been placed in the
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This notice confirms a copy of the document docketed as number 14 in
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Honorable J ames Todd
US DISTRICT COURT

